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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Glen Ellyn Pharmacy, Inc.
                                    Plaintiff,
v.                                                      Case No.: 1:11−cv−06702
                                                        Honorable Joan H. Lefkow
ExchangeRx, LLC, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 10, 2012:


       MINUTE entry before Honorable Joan H. Lefkow:Status hearing held on
1/10/2012 and motion hearing held on 1/10/2012 regarding motion to certify class [4] and
continued to 1/31/2012 at 08:30 AM.Mailed notice(mad, )




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